 Case 2:25-cv-00089-DAK           Document 1       Filed 02/07/25      PageID.1      Page 1 of 5




Jose A. Abarca (#12762)
POLSINELLI PC
2825 East Cottonwood Pkwy, Suite
Salt Lake City, UT 84121
Telephone: (801) 999-3504
jabarca@polsinelli.com

Attorneys for Defendant
Equifax Information Services LLC, incorrectly
identified as Equifax Inc.


                              UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH, CENTRAL DIVISION

BRYAN K. HAWKER, an individual,                     NOTICE OF REMOVAL

               Plaintiff,                           Case No. 2:25-cv-89

v.                                                  (Removed from Third Judicial District Court,
                                                    Salt Lake County, Case No. 250900245)
EQUIFAX INC.; and DOES 1 through 5,
inclusive,

               Defendants.


       Defendant, Equifax Information Services LLC (“Equifax”), incorrectly identified as

“Equifax Inc.”, by its attorneys and pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, hereby

removes this action from the Third Judicial District Court of Salt Lake County, Utah, to the

United States District Court for the District of Utah. In support, Equifax states as follows:

                              PROCEEDINGS IN STATE COURT

       1.      On January 13, 2025, Plaintiff Bryan K. Hawker filed his Complaint in the Third

Judicial District Court of Salt Lake County, Utah, entitled Hawker v. Equifax, Inc. et al., Case

No. 250900245. In conformity with 28 U.S.C. § 1446(a) and DUCivR 81-1, true and correct

copies of all process, pleadings, and orders (including a current copy of the docket sheet) are
 Case 2:25-cv-00089-DAK              Document 1       Filed 02/07/25    PageID.2       Page 2 of 5




attached hereto collectively as Exhibit A. There are no other process, pleadings, or orders served

upon Equifax to date in this case.

       2.      Equifax was served with the Complaint on January 17, 2025. (See Ex. A). This

Notice of Removal is filed within the thirty (30) day time period required by 28 U.S.C. §

1446(b).

       3.      Pursuant to 28 U.S.C. § 1441(a), venue lies in the United States District Court for

the District of Utah, Central Division, because it is the district embracing the place where the

State Court Action was filed.

       4.      Promptly after the filing of this Notice of Removal, Equifax shall give written

notice of the filing of this Notice of Removal to Plaintiff and will file a copy of this Notice of

Removal with the Third Judicial District Court of Salt Lake County, State of Utah, as required by

28 U.S.C. 1446(d).

                                     GROUNDS OF REMOVAL

       5.      In his Complaint, Plaintiff purports to bring claims arising out of the federal Fair

Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”) and the Utah Credit Services

Organizations Act Rule, Utah Admin. Code R152-21 (the “State Law Claim”). (See Ex. A).

       6.      This Court has original federal question jurisdiction over this case pursuant to 28

U.S.C. § 1331, which provides that “[t]he district courts shall have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States.” Accordingly,

this Court has jurisdiction over Plaintiff’s FCRA claims because they arise under federal law.

       7.      Further, this Court has supplemental jurisdiction over Plaintiff’s State Law Claim.

28 U.S.C. § 1367 provides that “in any civil action of which the district courts have jurisdiction,



                                                  2
 Case 2:25-cv-00089-DAK            Document 1         Filed 02/07/25     PageID.3      Page 3 of 5




the district courts shall have supplemental jurisdiction over all other claims that are so related to

the claims in this action with such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution.”

       8.        Plaintiff’s State Law Claim arises out of the same alleged conduct that forms the

basis of Plaintiff’s FCRA claim(s), and thus forms part of the same case or controversy under

Article III of the United States Constitution. As with his FCRA claim(s), Plaintiff’s State Law

Claim alleges that Equifax “failed to follow the protections set forth in both federal law and state

administrative rules” by purportedly “failing to review, correct, or respond to Plaintiff’s

inquiries.” (See Ex. A, Compl. ¶¶ 41-42). Moreover, Plaintiff’s State Law Claim, as alleged,

does not raise novel or complex issues of state law, nor does it substantially predominate over

Plaintiff’s FCRA claim(s).

                                UNANIMITY OF DEFENDANTS

       9.        Plaintiff purports to assert claims against fictitious defendants, Does 1-50.

Unnamed or “Doe” defendants are not required to join in removal. Emrich v. Touche Ross & Co.,

846 F.2d 1190 n.1 (9th Cir. 1988).

                                  RESERVATION OF RIGHTS

       10.       By filing this Notice of Removal, Equifax does not concede nor waive any defense

to this action and does not concede that service was properly effectuated.

       WHEREFORE, Equifax respectfully requests that the above-described action be removed

to this Court.




                                                  3
 Case 2:25-cv-00089-DAK   Document 1       Filed 02/07/25     PageID.4     Page 4 of 5




DATED: February 7, 2025                    Respectfully submitted,

                                           POLSINELLI PC



                                           By: /s/ Jose A. Abarca
                                               Jose A. Abarca
                                               Attorneys for Defendant Equifax
                                               Information Services LLC, incorrectly
                                               identified as Equifax Inc.




                                       4
 Case 2:25-cv-00089-DAK          Document 1        Filed 02/07/25     PageID.5      Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2025, I presented the foregoing NOTICE OF

REMOVAL with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record. A copy has also been sent via U.S. Mail to the following:

                      Bryan K. Hawker, plaintiff pro se
                      8928 S. Black Pine St.
                      West Jordan, Utah 84088



                                             /s/ Kaitlin Morgan
